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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

HEARTLAND ALLIANCE FOR HUMAN
NEEDS & HUMAN RIGHTS d/b/a
NATIONAL IMMIGRANT JUSTICE
CENTER
                                                 No. 1:16-cv-00211-RMC
              Plaintiff,

             v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY et al.

             Defendants.


                                   [PROPOSED] ORDER

       Upon consideration of Defendant DHS’s Motion for Partial Summary Judgment and

Plaintiff’s Cross-Motion for Partial Summary Judgment, and for good cause shown, it is hereby:

       ORDERED that Defendant DHS’s Motion for Partial Summary Judgment is DENIED;

       ORDERED that Plaintiff’s Cross-Motion for Partial Summary Judgment is GRANTED.

       It is SO ORDERED.



                                           ______________________________
                                           Hon. Rosemary M. Collyer
                                           UNITED STATES DISTRICT JUDGE
                                           United States District Court for the
                                           District of Columbia

Date: _____________




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